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March 24, 2023

Via ECF Only

Hon. Jennifer L. Rochon
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007

      Re:    Discovery Dispute in Coker v. Goldberg & Associates P.C.
             et al, 1:21-cv-01803-JLR

Dear Judge Rochon:

I am in receipt of Ms. Dodson’s letter, dated March 21, 2023, and your
Honor’s order of March 22, 2023.

As Ms. Dodson’s letter notes, her office reached out to Louis Lombardi,
who is no longer with our firm, and Mr. Jones, who was unavailable at
the time. No formal request was sent to me, the attorney who conducted
the deposition of Defendant Julie Goldberg, with a final, formal list of
requests.

As I only received this letter on March 21st, I am not in a position to
provide the extensive list of requested documents on such short notice.
Additionally, as the letter notes, at the time the letter was sent, we did
not yet have the transcript for the full context of requests. I believe the
transcript will also show that there were requests for which Defendants
demanded additional time, as much as 30 days, to locate and prepare
the requested documents. But, again, we did not receive the transcript,
nor any formal request, at the time Ms. Dodson’s letter was sent.

As to Ms. Goldberg’s preparation for the 30(b)(6) topics, she testified
truthfully to the extent of her knowledge and capability about those
issues. If Plaintiff’s counsel is unsatisfied with the depth of her




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knowledge, they are free to serve us with a notice to take the deposition
of additional witnesses.

Please note that we are not refusing to turn over any discovery materials    ,    .

and have no dispute as to the materials demanded at this time.
Plaintiff’s counsel has made extensive material demands that will take
our office and the Defendant’s office some time to coordinate and gather.


                                              Respectfully,



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